          Case 4:22-cv-00302-RH-MAF Document 135-26 Filed 11/29/22 Page 1 of 4

                                    EXHIBIT
                                     0015
                                     Ryan Newman
                                     11.07.2022



  12:15                                                                    11115G E (-       ),




                                      Larry


                        Tue, Jul 19, 10:36 AM


Check out this a.rticle from
Tallahalssee Democrat:

As some state attorneys use
'discretion ' on abortion, Jack
Campbell vows to follow law




As some state attorneys use
'discretion• on abortion, Jack
Campbell vows to follow law
tal ahassee.com




The person we discussed will
join us on a call at 3.

                        Wed, Aug 3, 7:47 AM




                       iMessage



                                                                                          4:22-cv-302-RH-MAF

                                                                                         PLAINTIFF'S EX

                                                                                               62
                                                                                    DEF 002528
                                                                                            PEX 62.001
           Case 4:22-cv-00302-RH-MAF Document 135-26 Filed 11/29/22 Page 2 of 4




                                                                            ••• 5GE (~ }


                                                                                    01
                                      Larry




As some state attorneys use
'discretion' on abortion, Jack
Campbell vows to follow law
tallahassee.com


                          Mon, Aug 1, 1:10 PM




The person we discussed wil I
join us on a call at 3.

                         Wed, Aug 3, 7:47 AM


                 Let's set up a call with Dugin for
                 this morning.

Will do.

Call is set with Chief Dugan and
Sheriff at 0900.

Your office?




                        iMessage




                                                                                   DEF 002529
                                                                                           PEX 62.002
          Case 4:22-cv-00302-RH-MAF Document 135-26 Filed 11/29/22 Page 3 of 4




                                                                           ••    5GE (~ )•




                                     Larry

                        Wed, Aug 3, 1:32 PM


               I met Martin's daughter and she
               is rock solid. It would be great to
               bring her into the fold.

Copy. On it.

                         Thu, Aug 4, 7: 57 AM


               Thank you for being there today.
               It gives us all a comfort. Will
               send you the order at or near
               930 and it will be emailed to the
               office COS as well.

Copy. Thanks.

Please email the Executive Order
to:

ERaburn@teamHCSO.com

Suzy is now at the media event
site with Chronister

Warren is in his office.

Amy update on status of EO
email to me?
                       iMessage




                                                                                    DEF 002530
                                                                                            PEX 62.003
         Case 4:22-cv-00302-RH-MAF Document 135-26 Filed 11/29/22 Page 4 of 4




                                                                          ••    5GE (~ )•




                                    Larry


                        Filing now. Will be emailed in
                        10-12 min

Copy

I have EO.

Gov landed.

             I spoke to Suzy this morning and
             she is in a good place.

Rog. Calling you now.

                       Mon, Aug 8, 4:16 PM


May I call you?

                  I can't talk right now, but I can
                  give you a ring tonight. We can
                  otherwise meet in person
                  tomorrow morning

Please call when able re Tampa

I think I resolved with Ryan and
Taryn. You need not call. Thanks.


                      iMessage




                                                                                   DEF 002531
                                                                                           PEX 62.004
